               Case 0756-1
                         18-01301-JMC-13                         Doc 37          Filed 07/19/21                     EOD 07/19/21 10:16:51                          Pg 1 of 2
           WED-25908
           John T. Steinkamp
           5214 S. East Street
                               s004006C 18-0 1301
                                                                                                                ti- 0(30 I
           Suite DI
           Indianapolis, IN 46227




           :-- ~ ~
           c_:·.: )                  \'~
                                     ___,       ,'
           :,.-.   -
             '\ •:..>-     8         ~-         t,,,                    026399 26399 I AB 0.425 60173 I I 9339- 1-26653
           --!             X:
                           ca:       .,~: 7: ~~ ~~                      1111 11 111 11 11 11 11•1111l1 11111 •1111 11 11 1111 l1l 111 11 11111 111•11 11l1
                                            ;
                                                                       Behavioral Psychology Assoc.
                                                     - ( ;             1920 Thoreau Drive N. #151
                           .....J                    -                 Schaumburg, IL 60173-4151
              -            ==>       ~



                                                                                                                                                                          •
                                            t   .,.»
           l--:~_..,:      -,        :_-,       Ld


          ~ ~~ "'                                            Behavioral Psychology Associates
                                                                                                                                                              fl,bor           19.
                                                             2500 W. Higgins Rd, Suite 1250                                                                  /le f! ~Vl   Atfc
         a 01 Jr e~~                                         Hoffman Estates, IL 60169-2051



                                                /2b(Jr-'1 r'l, pu I) 1 )...Cfl
                                    o/ ~ rH ?                  q__   b.th Cf V ,'o ( olf                      Jr cJ> .             C"      "7


                                    ~TTENTION: ADDRESS CORRECTION REQUESTED
           If you are receiving this notice, U.S. Postal Service records indicate that the address that the debtor listed
           is subject to a forwarding order. Forwarding orders are only good for a limited time.

         IF YOU ARE THE INTENDED NOTICE RECIPIENT                                                  IF YOU ARE THE DEBTOR/DEBTOR'S COUNSEL
         1. Update your address immediately with the                                               1. Find an updated address and send the attached
          - - B-ankrt1ptey €ourHdent-ifiee en the notice                                               ~ocumerlt- t0 that aderesS:-                 -~
              pursuant to the Court's local procedures.                                            2. Update the address with the Bankruptcy Court
         2. You may sign up for electronic noticing at                                                 pursuant to the Court's local procedures.
              http://ban kruptcynotices.uscourts.qov or
         3. You may register a preferred physical address at
              http://ban kruptcynotices.uscou rts.gov
         Enter all variations of you r name and address(es)
         that you want red irected to you r electronic or
         preferred physical address. Make sure that you
         enter the name and address that were on this notice
         to ensure that futu re notices to this incorrect address
         will be re-directed.




026399                   2 590 8 0 26 4 250 16
                  Case 18-01301-JMC-13      Doc 37       Filed 07/19/21         EOD 07/19/21 10:16:51                                       Pg 2 of 2




                                                                                                                                 4t'\\


                                                     ~

Behavioral Psychology Associates                                                                                               "eowes.
2500 W. Higgins Rd, Suite 1250
Hoffman Estates, IL 60169-2051
                                                                                                                       : !,,.~-,
                                                                                                                             #

                                                                                                                      •; •. -=:~
                                                                                                                                            •

                                                                                                                                                 US POSTAGE
                                                                                                 ~                         02 1P                 $ 000.510
                                                                                                                           0001212785                 JUL 13 2021
                                                                                                 ....,;;;.-.:aa;.;-..~ MAILED FROM ZIP CODE 601 69




                                   l/ 111·-Ju/ Sfot-J B~ ()le rvf fc,J,.J" vt'f
                                   :> dvfftvr,       /l,'.lfr, ·r:t 6-f r'r(rAia rCl
                                   1/4 t. oh,'" Y!. /?11 Ill,,
                                   J:nrA../o,f1 Rroli1, -r flJ 9, ~ ay
                                   4S2t:i4-432~iSS             hpi iii ii \u ii h\\   1   l Iii ii 11i Ii\ lhi i\ii ii \11 l1\ \ ii 1H 11 ll\ii ni\
